                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

Jamie Huber,                                        ) Case No: 2:20-cv-4607-PBT
                                                    )
               Plaintiff,                           )
       vs.                                          )
                                                    )
                                                    )
Experian Information Solutions, Inc.; Account       )
Resolution Services, LLC,                           )
                                                    )
               Defendants.                          )


                            PRAECIPE TO ISSUE ALIAS SUMMONS

TO THE CLERK OF THE COURT:

       On September 21, 2020, the undersigned counsel for Plaintiff, Jamie Huber, filed a

Complaint against Defendants Experian Information Solutions, Inc. and Account Resolution

Services, LLC in this litigation (“Defendants”). The Court mailed the Summons issued to

Defendants to counsel for Plaintiff at a previous office address and it was never received. Plaintiff’s

counsel has not yet received the mailed Summons to be issued to Defendants

       At this time, counsel for Plaintiff is respectfully requesting the Clerk to issue alias

summonses via email to nl@zemellawllc.com and by mail to counsel’s new office address at 660

Broadway Paterson, New Jersey 07514 so that service can be completed.

Dated this 11th day of December 2020.
                                               Respectfully Submitted,
                                               /s/ Nicholas Linker________________
                                               Nicholas Linker, Esq. ID# 321521
                                               Zemel Law LLC
                                               660 Broadway
                                               Paterson, New Jersey 07514
                                               (Tel): 862-227-3106
                                               nl@zemellawllc.com
                                               Attorney for Plaintiff
                                   CERTIFICATE OF SERVICE
          I hereby certify that on this 11th day of December a true and correct copy of the foregoing

document was e-filed via the Court’s ECF System with a copy electronically sent to all counsel of

record.


                                                                        /s/ Nicholas Linker
                                                                        Nicholas Linker, Esq.




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